EDGAR M. MORSMAN, JR., ADMINISTRATOR, ESTATE OF TRUMAN BUCK, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Morsman v. CommissionerDocket No. 17660.United States Board of Tax Appeals13 B.T.A. 415; 1928 BTA LEXIS 3247; September 20, 1928, Promulgated *3247  Credit claimed by petitioner on account of inheritance taxes paid to the State of Nebraska in respect of property included in the gross estate for estate-tax purposes should be allowed in an amount not to exceed 25 per cent of the estate tax.  Degar M. Morsman, Jr., Esq., pro se.  Benton Baker, Esq., for the respondent.  LANSDON *415  The respondent has asserted a deficiency in estate tax in the amount of $36.95.  The deficiency arises from the disallowance by respondent of a credit claimed by petitioner on account of inheritance taxes paid to the State of Nebraska.  FINDINGS OF FACT.  Petitioner is the administrator of the estate of Truman Buck, who prior to his decease on November 22, 1924, was a resident of the State of Nebraska.  Administration proceedings were had in Douglas County, Nebraska., in accordance with the law of that State, and an inheritance *416  tax in the amount of $522.55 was paid to the treasurer for Douglas County.  The property upon which inheritance taxes were paid to the State of Nebraska is the same property included in the estate-tax return filed January 16, 1925, with the Commissioner of Internal Revenue. *3248  Petitioner's return showed a net estate subject to tax of $11,190.45, upon which a tax was paid in the amount of $111.90.  The respondent determined the net estate to be $14,885.16 and the correct tax liability to be $148.85, which allows no credit for inheritance taxes paid to the State of Nebraska.  As a basis for credit claimed on account of inheritance taxes paid to the State of Nebraska, petitioner filed with the respondent a certified copy of the decree of the County Court of Douglas County, Nebraska, which did not contain a list of the property therein included.  An uncertified list of the property, however, was presented to an agent of the respondent who was engaged in making an investigation of petitioner's estate-tax return.  OPINION.  LANSDON: The only issue presented is whether petitioner is entitled to credit Federal estate taxes with the amount of inheritance taxes paid to the State of Nebraska.  Section 301(b) of the Revenue Act of 1924 provides: The tax imposed by this section shall be credited with the amount of any estate, inheritance, legacy, or succession taxes actually paid to any State or Territory or the District of Columbia, in respect of any property*3249  included in the gross estate.  The credit allowed by this subdivision shall not exceed 25 per centum of the tax imposed by this section.  The respondent contends that the allowance or disallowance of the credit authorized by the above quoted section is a matter over which the Board has no jurisdiction.  He contends that such allowance or disallowance of the credit is purely an administrative matter, and that the deficiency or amount of tax imposed is not affected by the credit granted, under certain conditions, in section 301(b).  Regulations 68 provides in part: ART. 9. (a) * * * Before the Commissioner allows credit for any estate, inheritance, legacy, or succession taxes, there must be submitted to him a complete list of the property in respect to which any such taxes were imposed, and the amount thereof paid, certified under the hand and official seal of the officer of the taxing State or Territory having custody of the records pertaining to such taxes.  * * * The petitioner did not comply with Regulations 68, article 9(a), and the respondent contends that the right to a credit because of inheritance taxes paid to the State of Nebraska has, therefore, been lost.  He contends*3250  that section 301(b) of the Act merely provides the method of satisfying a tax found to be due.  *417  Section 301(a) of the Revenue Act of 1924, as amended by section 322 of the Revenue Act of 1926, specifically provides for the imposition of a tax equal to the sum of certain percentages of the value of the net estate determined as provided in section 303 of the same Act.  Section 303 provides that the net estate of a resident decedent shall be determined by deducting from the value of the gross estate the amounts authorized by subdivisions 1, 2, 3, and 4 thereof.  Section 301(b) provides for the allowance of a credit for inheritance taxes paid to a State.  We are of the opinion that section 301(b) is a part of the provision for computing the tax due and not, as contended by the respondent, a method of satisfying the tax liability found.  The tax for which petitioner is liable is the amount remaining after the allowable credit for inheritance taxes paid to the State.  Cf. ; ; *3251 . The issue before the Board is not whether the Commissioner's regulation is just and reasonable and whether such regulation has been properly applied, but whether petitioner has paid any estate, inheritance, legacy or succession taxes to any State or Territory in respect of any property included in the gross estate.  If so, section 301(b) provides that the estate tax as computed under subdivision (a) "shall be credited" with such amount not to exceed 25 per cent of the tax determined under the latter section.  The evidence is clear that petitioner paid inheritance taxes to the State of Nebraska in the amount of $522.55, and that the tax was imposed in respect of property included in the gross estate for Federal estate-tax purposes.  The petitioner is entitled to credit the estate tax of $148.85, determined by respondent, with inheritance taxes paid to the State of Nebraska, such credit not to exceed $37.21, which is 25 per cent of the amount determined under section 301(a).  Reviewed by the Board.  Decision will be entered for the petitioner.